Case: 1:25-cv-05855 Document #: 1-1 Filed: 05/27/25 Page 1 of 7 PageID #:9




                              Exhibit 1
Case: 1:25-cv-05855 Document #: 1-1 Filed: 05/27/25 Page 2 of 7 PageID #:10
Case: 1:25-cv-05855 Document #: 1-1 Filed: 05/27/25 Page 3 of 7 PageID #:11
Case: 1:25-cv-05855 Document #: 1-1 Filed: 05/27/25 Page 4 of 7 PageID #:12
Case: 1:25-cv-05855 Document #: 1-1 Filed: 05/27/25 Page 5 of 7 PageID #:13
Case: 1:25-cv-05855 Document #: 1-1 Filed: 05/27/25 Page 6 of 7 PageID #:14
Case: 1:25-cv-05855 Document #: 1-1 Filed: 05/27/25 Page 7 of 7 PageID #:15
